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 7
                                UNITED STATES DISTRICT COURT
 8                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN JOSE DIVISION

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11   J.C., L.Z., A.O., V.A., A.B., W.W., Y.Z., D.Y.,     Case No.: 5:25-cv-03502-PCP
     I.P., T.W., E.S., H.L.,
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            Plaintiffs,
13
            v.
                                                         [PROPOSED] ORDER
14   Kristi NOEM, in her official capacity, Secretary,   GRANTING
15   U.S. Department of Homeland Security;               PLAINTIFFS’MOTION FOR
                                                         TEMPORARY RESTRAINING
16   Todd M. LYONS, in his official capacity, Acting     ORDER
     Director, Immigration and Customs Enforcement,
17   U.S. Department of Homeland Security;
18
     Moises BECERRA, in his official capacity, Acting
19   Field Office Director of San Francisco Office of
     Detention and Removal, U.S. Immigrations and
20   Customs Enforcement; U.S. Department of
21   Homeland Security; and

22   Donald J. TRUMP, in his official capacity,
     President of the United States of America;
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24         Defendants.

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     [PROPOSED] ORDER GRANTING PLAINTIFFS’
     MOTION FOR TEMPORARY RESTRAINING ORDER
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 1           Plaintiffs are entitled to a temporary restraining order if they establish that they are
 2   “likely to succeed on the merits, . . . likely to suffer irreparable harm in the absence of
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     preliminary relief, that the balance of equities tips in [their] favor, and that an injunction is in the
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     public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Stuhlbarg Int’l
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 6   Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). Absent a showing of

 7   likelihood of success on the merits, the Court may still grant a temporary restraining order if
 8   Plaintiffs raise “serious questions” as to the merits of their claims, the balance of hardships tips
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     “sharply” in their favor, and the remaining equitable factors are satisfied. Alliance for the Wild
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     Rockies v. Cottrell, 632 F.3d 1127 (9th Cir. 2011).
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12           Upon consideration of Plaintiffs’ Motion for Temporary Restraining Order, and finding

13   sufficient cause, the motion is GRANTED, and IT IS FURTHER ORDERED that:
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             1.Defendants are enjoined from arresting and incarcerating Plaintiffs pending the
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               resolution of these proceedings. 5 U.S.C. § 705;
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             2. Defendants are enjoined from transferring Plaintiffs outside the jurisdiction of this
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               District pending the resolution of these proceedings. 5 U.S.C. § 705; and
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             3. Any legal effect that the unlawful termination of Plaintiffs SEVIS statuses or the
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               potential unlawful revocation of their F-1 visas may have is enjoined pending further
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               order of the Court, 5 U.S.C. § 705; § 706(2)(A), (C)-(D), including:
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                     a. Preventing Plaintiffs from continuing their existing studies or employment
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                         authorization under CPT or OPT in valid F-1 visa status, 5 U.S.C. § 705; §
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                         706(2)(A), (C)-(D);
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                     b. Preventing, based on an alleged lack of valid nonimmigrant visa status,
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                         Plaintiffs from changing status to another nonimmigrant status, or applying
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                         for adjustment of status to lawful permanent resident. 5 U.S.C. § 705; §
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                         706(2)(A), (C)-(D);
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                     c. Determining that Plaintiffs are accruing unlawful presence in the United

     [PROPOSED] ORDER GRANTING PLAINTIFFS’
     MOTION FOR TEMPORARY RESTRAINING ORDER
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                        States as a result of the SEVIS terminations, 5 U.S.C. § 705; § 706(2)(A), (C)-
 2
                        (D); and
 3
                     d. Preventing Plaintiffs from entering the United States using their valid F-1 visa
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                        or, if necessary, applying for another F-1 visa for which they would be
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                        eligible but for the SEVIS termination being challenged.
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            4.In light of point 3 above, pending these proceedings, Plaintiffs are permitted to
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             continue pursuing their studies and employment under their CPT and OPT, and can
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             also change status from F-1 to another nonimmigrant visa, or can apply for adjustment
 9           of status to lawful permanent resident.
10          5.The parties are ordered to redact or file any information identifying Plaintiffs under
11           seal.
12          6. Defendants’ counsel are prohibited from sharing any information about Plaintiffs’
13           identities or related personal information beyond what is reasonably necessary for the
14           litigation (including to comply with Court orders) and to prohibit use of the
15           information for any purpose outside of the litigation.
16          7.Under the circumstances of this case, it is proper to waive the requirement that
17           Plaintiffs give an amount of security. Fed. R. Civ. P. 65(c).
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19   IT IS SO ORDERED.
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     Dated: ________________, 2025                 __________________________________
22                                                       United States District Judge
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     [PROPOSED] ORDER GRANTING PLAINTIFFS’
     MOTION FOR TEMPORARY RESTRAINING ORDER
